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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


   ELIZABETH SINES, et al.,

                                   Plaintiffs,

                        v.                           CASE NO. 3:17-cv-00072

   JASON KESSLER, et al.,

                                   Defendants.



              APPLICATION FOR COURTHOUSE PRESS CREDENTIALS
                                   FOR SINES v. KESSLER



 Name of your news organization: _______________________________________________

 Please describe your audience, including estimated audience size: _____________________

 __________________________________________________________________________

 News organization’s parent company (if applicable): ________________________________

 Your name and title: __________________________________________________________

 Business address: ____________________________________________________________

 Telephone number: ___________________________________________________________

 Email address: _______________________________________________________________

 [Additional questions on following page]




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 This trial is estimated to last between October 25 and November 19, 2021.

                Do you or someone from your news organization plan to come every day of trial?

                __________________________________________________________________

                If not, how often or when do you or someone from your news organization plan to

                come to trial? ______________________________________________________

        Members of the media must be granted prior approval from the presiding judge before

 being allowed to bring personal electronic devices into the Courthouse (e.g., cell phones, tablets,

 laptop computers). See W.D. Va. Standing Order 2013-8. If you plan to request that you be

 allowed to bring any personal electronic devices or equipment into the Courthouse, such devices

 are as follows: _________________________________________________________________

 _____________________________________________________________________________.

        On account of the Western District’s Standing Orders and this Court’s COVID-19 health

 precautions in this case, in order to reduce the risk of spread of COVID-19, and noting security

 considerations for this trial, the Court has determined that Courtroom attendance will be limited

 solely to the parties, attorneys of record, witnesses, and court staff. Therefore, the Court has set

 up a live video feed of the trial to be broadcast in another room of the Courthouse. The Court

 will be able to issue only a limited number of “Courthouse press credentials,” to members of the

 press who would be granted access to the room with the live video feed of the trial. Would you

 like to be considered for “Courthouse press credentials”? ____________________.

        *** Only the litigants in this case and their attorneys of record, witnesses, court staff and

 court security, other Courthouse employees, and those members of the press afforded Courthouse

 press credentials in advance of the trial will be permitted into the Charlottesville Courthouse



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 during trial (October 25 to November 19, 2021). Members of the public will have access to dial

 in to a conference line with the live audio feed of the trial at any time.

        NOTICE re: COVID Precautions: Anyone entering the Charlottesville Federal

 Courthouse must comply with this Court’s Standing Orders regarding COVID-19 precautions.

 You must (1) wear a mask at all times (whether you are vaccinated or unvaccinated); (2) practice

 social distancing, to the extent possible throughout the Courthouse; and (3) conduct a health self-

 assessment before coming into the Courthouse, and if you exhibit any symptoms of COVID-19

 (e.g., temperature over 100.4, fever or chills, cough, shortness of breath, difficulty breathing,

 sore throat, unusual fatigue, or new loss of taste or smell), you should not enter the Courthouse.

        Courthouse press credentials will be issued on a rolling basis. Any such requests must be

 received by October 21, 2021.

                                                 *****

        Please complete the following:

        Should any Courthouse press credentials be issued to me or my organization, I

 understand that:

            •   I am responsible for ensuring that the Courthouse press credentials are in the
                possession of the employee from my organization attending any specific day of
                trial or court hearing;

            •   Courthouse press credentials will be prioritized to news organizations and
                members of the press that plan to attend the trial on a daily basis or for a
                significant period of the trial, as well as those with a regional focus, so as to
                facilitate the greatest public access to the trial to the public nationwide as well as
                in the community. Attendance will be taken prior to the start of every court
                session, and news organizations who are not present or are not using their
                Courthouse press credentials may be subject to forfeiting them.

            •   Federal Judicial Policy and this Court’s Standing Orders prohibit the recording or
                broadcasting of Court proceedings, which will apply to those with Courthouse
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               press credentials viewing the trial remotely in the media room. Violations of this
               policy may result in forfeiture of press credentials.

           •   I have informed the Court above of any personal electronic devices or equipment
               that I would request I be able to bring into the Courthouse (e.g., cell phones,
               tablets, laptop computers), and will only bring in such devices if granted approval
               by the Court.

           •   The Court cannot guarantee that any particular news organization or member of
               the press will be able to receive Courthouse press credentials, given the
               significant space considerations and necessity of reducing the number of persons
               in the Courthouse on account of COVID-19.


        __________________________________                                  ______________
        Print your name                                                     Date


        ___________________________________
        Signature


 Please email your request to the Clerk’s Office for the Western District of Virginia at
 HeidiW@vawd.uscourts.gov. You can call 434-296-9284 to make sure it has been received.




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